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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


 PAM POE, et al.,

       Plaintiffs,                              Case No. 1:23-cv-00269-CWD

                      v.                        NOTICE OF
                                                WITHDRAWAL
 RAÚL LABRADOR, et. al.,

       Defendants.




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       TAKE NOTICE that Dina Marie Flores-Brewer, ACLU of Idaho Foundation, notifies

the Court of her withdrawal as an attorney of record in this case. All other attorneys for

Plaintiffs remain as attorneys of record in this case.

       Dated this April 9, 2024.



                                                         ACLU OF IDAHO FOUNDATION

                                                         /s/: Dina Marie Flores- Brewer
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NOTICE OF WITHDRAWAL                              2
